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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )                  8:13CR212
                      Plaintiff,               )
                                               )
       vs.                                     )                    ORDER
                                               )
DEREK DURAE,                                   )
MELISSA GLASS, and                             )
EDDIE GLASS,                                   )
                                               )
                      Defendants.              )

       This matter is before the court on the motion to continue by defendant Eddie Glass
(Filing No. 35). Eddie Glass seeks a continuance of the trial of this matter which is scheduled
for August 5, 2013. Counsel for Eddie Glass represents Eddie Glass’ medical status requires
a continuance of thirty (30) days. Counsel represents Eddie Glass will file an affidavit wherein
Eddie Glass represents that he consents to the motion and acknowledges he understands the
additional time may be excludable time for the purposes of the Speedy Trial Act. Eddie Glass’
counsel represents that government’s counsel has no objection to the motion. Upon
consideration, the motion will be granted and trial will be continued as to all defendants.


       IT IS ORDERED:
       1.     Eddie Glass’ motion to continue trial (Filing No. 35) is granted.
       2.     Trial of this matter as to all defendants is re-scheduled for September 9, 2013,
before Judge Joseph F. Bataillon and a jury. The ends of justice have been served by
granting such motion and outweigh the interests of the public and the defendants in a speedy
trial. The additional time arising as a result of the granting of the motion, i.e., the time
between July 22, 2013, and September 9, 2013, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason counsel
require additional time to adequately prepare the case and defendant Eddie Glass is
physically unable to stand trial. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. §§ 3161(h)(7)(A) & (B) and 3161(h)(4).
       DATED this 22nd day of July, 2013.
                                                   BY THE COURT:

                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
